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                     EXHIBIT 5
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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                        Total MME (2006 - 2014)

                      SpecGx LLC                                                  23.1%

              Actavis Pharma, Inc.                                      17.4%

                      Indivior Inc.                             12.5%

                Purdue Pharma LP                           9.9%

               Par Pharmaceutical                       7.4%

West-Ward Pharmaceuticals Corp.                    6.0%

       Mylan Pharmaceuticals, Inc.               4.3%

       Endo Pharmaceuticals, Inc.          2.6%

                       Sandoz Inc         1.8%

                  KVK-Tech, Inc.          1.7%

   Teva Pharmaceuticals USA, Inc.         1.7%

     Amneal Pharmaceuticals LLC           1.7%

          Rhodes Pharmaceuticals          1.5%

     Janssen Pharmaceuticals, Inc.        1.5%

                     Apotex Corp.        0.9%

                Ethex Corporation        0.8%

                      Hospira, Inc.      0.8%

Sun Pharmaceutical Industries, Inc.      0.6%

                             Other              3.9%

                                  0.0%                  10.0%           20.0%             30.0%   40.0%   50.0%   60.0%   70.0%


                                                                                www.SLCG.com                                 1 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                     Total Dosage Units (2006 - 2014)

                      SpecGx LLC                                                          38.6%

              Actavis Pharma, Inc.                                            25.8%

                      Indivior Inc.      0.9%

                Purdue Pharma LP             2.8%

               Par Pharmaceutical                              15.7%

West-Ward Pharmaceuticals Corp.               3.1%

       Mylan Pharmaceuticals, Inc.     0.4%

       Endo Pharmaceuticals, Inc.        0.9%

                       Sandoz Inc     0.1%

                  KVK-Tech, Inc.          1.5%

   Teva Pharmaceuticals USA, Inc.         1.7%

     Amneal Pharmaceuticals LLC                 3.8%

          Rhodes Pharmaceuticals         0.9%

     Janssen Pharmaceuticals, Inc.     0.3%

                     Apotex Corp.     0.0%

                Ethex Corporation        0.6%

                      Hospira, Inc.   0.0%

Sun Pharmaceutical Industries, Inc.      0.8%

                             Other         2.0%

                                  0.0%                 10.0%     20.0%           30.0%   40.0%    50.0%   60.0%   70.0%


                                                                         www.SLCG.com                                2 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                           Total MME (2006)

                      SpecGx LLC                                                               30.6%

              Actavis Pharma, Inc.                              12.6%

                      Indivior Inc.      1.6%

                Purdue Pharma LP                              10.6%

               Par Pharmaceutical                      7.7%

West-Ward Pharmaceuticals Corp.           2.1%

       Mylan Pharmaceuticals, Inc.                     7.5%

       Endo Pharmaceuticals, Inc.      0.5%

                       Sandoz Inc                      7.5%

                  KVK-Tech, Inc.      0.0%

   Teva Pharmaceuticals USA, Inc.               4.7%

     Amneal Pharmaceuticals LLC       0.0%

          Rhodes Pharmaceuticals      0.0%

     Janssen Pharmaceuticals, Inc.              4.5%

                     Apotex Corp.     0.0%

                Ethex Corporation          2.5%

                      Hospira, Inc.      1.0%

Sun Pharmaceutical Industries, Inc.   0.1%

                             Other                6.5%

                                  0.0%                 10.0%            20.0%           30.0%          40.0%   50.0%   60.0%   70.0%


                                                                                www.SLCG.com                                      3 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                       Total Dosage Units (2006)

                      SpecGx LLC                                                                                     59.8%

              Actavis Pharma, Inc.                                13.8%

                      Indivior Inc.   0.2%

                Purdue Pharma LP             2.8%

               Par Pharmaceutical                          9.8%

West-Ward Pharmaceuticals Corp.           1.7%

       Mylan Pharmaceuticals, Inc.    0.2%

       Endo Pharmaceuticals, Inc.        0.8%

                       Sandoz Inc      0.2%

                  KVK-Tech, Inc.      0.0%

   Teva Pharmaceuticals USA, Inc.                4.5%

     Amneal Pharmaceuticals LLC       0.0%

          Rhodes Pharmaceuticals      0.0%

     Janssen Pharmaceuticals, Inc.    0.1%

                     Apotex Corp.     0.0%

                Ethex Corporation          2.4%

                      Hospira, Inc.   0.0%

Sun Pharmaceutical Industries, Inc.    0.3%

                             Other            3.4%

                                  0.0%                  10.0%             20.0%           30.0%   40.0%   50.0%   60.0%      70.0%


                                                                                  www.SLCG.com                                  4 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                           Total MME (2007)

                      SpecGx LLC                                                          29.8%

              Actavis Pharma, Inc.                                14.2%

                      Indivior Inc.          3.5%

                Purdue Pharma LP                               11.5%

               Par Pharmaceutical               4.7%

West-Ward Pharmaceuticals Corp.           2.2%

       Mylan Pharmaceuticals, Inc.                  6.4%

       Endo Pharmaceuticals, Inc.        1.0%

                       Sandoz Inc                    7.2%

                  KVK-Tech, Inc.      0.0%

   Teva Pharmaceuticals USA, Inc.                      7.9%

     Amneal Pharmaceuticals LLC       0.0%

          Rhodes Pharmaceuticals      0.0%

     Janssen Pharmaceuticals, Inc.        2.3%

                     Apotex Corp.     0.0%

                Ethex Corporation          2.6%

                      Hospira, Inc.      0.9%

Sun Pharmaceutical Industries, Inc.   0.1%

                             Other                5.6%

                                  0.0%                 10.0%           20.0%           30.0%      40.0%   50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                       Total Dosage Units (2007)

                      SpecGx LLC                                                                 50.2%

              Actavis Pharma, Inc.                                         26.0%

                      Indivior Inc.    0.3%

                Purdue Pharma LP             2.9%

               Par Pharmaceutical                   7.3%

West-Ward Pharmaceuticals Corp.           1.7%

       Mylan Pharmaceuticals, Inc.    0.2%

       Endo Pharmaceuticals, Inc.        0.9%

                       Sandoz Inc     0.2%

                  KVK-Tech, Inc.      0.0%

   Teva Pharmaceuticals USA, Inc.                 5.3%

     Amneal Pharmaceuticals LLC       0.2%

          Rhodes Pharmaceuticals      0.0%

     Janssen Pharmaceuticals, Inc.    0.1%

                     Apotex Corp.     0.0%

                Ethex Corporation         2.0%

                      Hospira, Inc.   0.0%

Sun Pharmaceutical Industries, Inc.    0.2%

                             Other         2.4%

                                  0.0%               10.0%   20.0%           30.0%   40.0%   50.0%       60.0%   70.0%


                                                                     www.SLCG.com                                   6 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                           Total MME (2008)

                      SpecGx LLC                                                  26.9%

              Actavis Pharma, Inc.                               15.7%

                      Indivior Inc.                       8.9%

                Purdue Pharma LP                                   17.5%

               Par Pharmaceutical               3.9%

West-Ward Pharmaceuticals Corp.                 3.5%

       Mylan Pharmaceuticals, Inc.                 6.1%

       Endo Pharmaceuticals, Inc.         1.8%

                       Sandoz Inc          2.1%

                  KVK-Tech, Inc.      0.0%

   Teva Pharmaceuticals USA, Inc.               3.5%

     Amneal Pharmaceuticals LLC       0.1%

          Rhodes Pharmaceuticals      0.0%

     Janssen Pharmaceuticals, Inc.        1.7%

                     Apotex Corp.     0.0%

                Ethex Corporation               3.5%

                      Hospira, Inc.      0.7%

Sun Pharmaceutical Industries, Inc.   0.0%

                             Other               4.2%

                                  0.0%                  10.0%      20.0%           30.0%   40.0%   50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                       Total Dosage Units (2008)

                      SpecGx LLC                                                                48.4%

              Actavis Pharma, Inc.                                             27.5%

                      Indivior Inc.      0.7%

                Purdue Pharma LP                4.6%

               Par Pharmaceutical                  7.1%

West-Ward Pharmaceuticals Corp.            2.4%

       Mylan Pharmaceuticals, Inc.    0.2%

       Endo Pharmaceuticals, Inc.        1.1%

                       Sandoz Inc     0.1%

                  KVK-Tech, Inc.      0.0%

   Teva Pharmaceuticals USA, Inc.          2.7%

     Amneal Pharmaceuticals LLC        0.5%

          Rhodes Pharmaceuticals      0.0%

     Janssen Pharmaceuticals, Inc.    0.0%

                     Apotex Corp.     0.0%

                Ethex Corporation          2.7%

                      Hospira, Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.1%

                             Other         2.1%

                                  0.0%                 10.0%   20.0%           30.0%   40.0%   50.0%     60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                           Total MME (2009)

                      SpecGx LLC                                                          28.5%

              Actavis Pharma, Inc.                                       17.5%

                      Indivior Inc.                            11.0%

                Purdue Pharma LP                                       15.9%

               Par Pharmaceutical                    5.9%

West-Ward Pharmaceuticals Corp.                 4.0%

       Mylan Pharmaceuticals, Inc.               5.1%

       Endo Pharmaceuticals, Inc.             3.0%

                       Sandoz Inc         1.8%

                  KVK-Tech, Inc.      0.0%

   Teva Pharmaceuticals USA, Inc.        1.3%

     Amneal Pharmaceuticals LLC        0.2%

          Rhodes Pharmaceuticals      0.0%

     Janssen Pharmaceuticals, Inc.       0.9%

                     Apotex Corp.     0.0%

                Ethex Corporation     0.2%

                      Hospira, Inc.      0.9%

Sun Pharmaceutical Industries, Inc.   0.2%

                             Other            3.4%

                                  0.0%                 10.0%             20.0%           30.0%    40.0%   50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                       Total Dosage Units (2009)

                      SpecGx LLC                                                                        45.1%

              Actavis Pharma, Inc.                                                      30.3%

                      Indivior Inc.      0.8%

                Purdue Pharma LP                4.3%

               Par Pharmaceutical                         9.6%

West-Ward Pharmaceuticals Corp.              2.8%

       Mylan Pharmaceuticals, Inc.     0.3%

       Endo Pharmaceuticals, Inc.        1.3%

                       Sandoz Inc     0.0%

                  KVK-Tech, Inc.      0.0%

   Teva Pharmaceuticals USA, Inc.         2.1%

     Amneal Pharmaceuticals LLC          0.8%

          Rhodes Pharmaceuticals      0.0%

     Janssen Pharmaceuticals, Inc.    0.1%

                     Apotex Corp.     0.0%

                Ethex Corporation     0.1%

                      Hospira, Inc.   0.0%

Sun Pharmaceutical Industries, Inc.      0.8%

                             Other        1.6%

                                  0.0%                 10.0%     20.0%           30.0%          40.0%      50.0%   60.0%   70.0%


                                                                         www.SLCG.com                                        10 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                            Total MME (2010)

                      SpecGx LLC                                                     25.3%

              Actavis Pharma, Inc.                                                23.4%

                      Indivior Inc.                           10.6%

                Purdue Pharma LP                                11.9%

               Par Pharmaceutical                      7.2%

West-Ward Pharmaceuticals Corp.                   5.5%

       Mylan Pharmaceuticals, Inc.              4.5%

       Endo Pharmaceuticals, Inc.               4.0%

                       Sandoz Inc        1.5%

                  KVK-Tech, Inc.      0.2%

   Teva Pharmaceuticals USA, Inc.      0.4%

     Amneal Pharmaceuticals LLC        0.3%

          Rhodes Pharmaceuticals      0.0%

     Janssen Pharmaceuticals, Inc.       1.1%

                     Apotex Corp.      0.3%

                Ethex Corporation        0.8%

                      Hospira, Inc.      0.9%

Sun Pharmaceutical Industries, Inc.   0.1%

                             Other        2.1%

                                  0.0%                 10.0%            20.0%             30.0%   40.0%   50.0%   60.0%   70.0%


                                                                                www.SLCG.com                                11 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                       Total Dosage Units (2010)

                      SpecGx LLC                                                                     40.1%

              Actavis Pharma, Inc.                                                           35.6%

                      Indivior Inc.      0.7%

                Purdue Pharma LP              3.2%

               Par Pharmaceutical                            12.2%

West-Ward Pharmaceuticals Corp.            2.6%

       Mylan Pharmaceuticals, Inc.    0.2%

       Endo Pharmaceuticals, Inc.        1.3%

                       Sandoz Inc     0.0%

                  KVK-Tech, Inc.      0.2%

   Teva Pharmaceuticals USA, Inc.        0.7%

     Amneal Pharmaceuticals LLC          1.1%

          Rhodes Pharmaceuticals      0.0%

     Janssen Pharmaceuticals, Inc.     0.3%

                     Apotex Corp.     0.1%

                Ethex Corporation      0.3%

                      Hospira, Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.2%

                             Other       1.3%

                                  0.0%               10.0%           20.0%           30.0%     40.0%         50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                            Total MME (2011)

                      SpecGx LLC                                                    22.5%

              Actavis Pharma, Inc.                                                   23.4%

                      Indivior Inc.                                13.5%

                Purdue Pharma LP                       8.0%

               Par Pharmaceutical                           9.7%

West-Ward Pharmaceuticals Corp.                      6.4%

       Mylan Pharmaceuticals, Inc.            3.1%

       Endo Pharmaceuticals, Inc.                5.8%

                       Sandoz Inc      0.3%

                  KVK-Tech, Inc.         0.9%

   Teva Pharmaceuticals USA, Inc.      0.5%

     Amneal Pharmaceuticals LLC          1.4%

          Rhodes Pharmaceuticals         1.0%

     Janssen Pharmaceuticals, Inc.       1.0%

                     Apotex Corp.      0.3%

                Ethex Corporation     0.0%

                      Hospira, Inc.      0.8%

Sun Pharmaceutical Industries, Inc.   0.1%

                             Other       1.4%

                                  0.0%                10.0%                20.0%             30.0%   40.0%   50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                       Total Dosage Units (2011)

                      SpecGx LLC                                                         32.3%

              Actavis Pharma, Inc.                                                  29.7%

                      Indivior Inc.      1.0%

                Purdue Pharma LP           2.3%

               Par Pharmaceutical                                        23.2%

West-Ward Pharmaceuticals Corp.              3.0%

       Mylan Pharmaceuticals, Inc.    0.2%

       Endo Pharmaceuticals, Inc.        1.4%

                       Sandoz Inc     0.0%

                  KVK-Tech, Inc.         0.8%

   Teva Pharmaceuticals USA, Inc.      0.5%

     Amneal Pharmaceuticals LLC                 3.9%

          Rhodes Pharmaceuticals       0.5%

     Janssen Pharmaceuticals, Inc.     0.4%

                     Apotex Corp.     0.0%

                Ethex Corporation     0.0%

                      Hospira, Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.0%

                             Other       0.8%

                                  0.0%                 10.0%   20.0%             30.0%           40.0%   50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                            Total MME (2012)

                      SpecGx LLC                                               22.4%

              Actavis Pharma, Inc.                                          20.2%

                      Indivior Inc.                                 16.0%

                Purdue Pharma LP                     7.2%

               Par Pharmaceutical                           10.1%

West-Ward Pharmaceuticals Corp.                      7.7%

       Mylan Pharmaceuticals, Inc.            3.1%

       Endo Pharmaceuticals, Inc.          2.6%

                       Sandoz Inc      0.2%

                  KVK-Tech, Inc.          1.5%

   Teva Pharmaceuticals USA, Inc.        0.7%

     Amneal Pharmaceuticals LLC          1.1%

          Rhodes Pharmaceuticals          2.0%

     Janssen Pharmaceuticals, Inc.       1.1%

                     Apotex Corp.     0.1%

                Ethex Corporation     0.0%

                      Hospira, Inc.      0.7%

Sun Pharmaceutical Industries, Inc.      1.1%

                             Other         2.1%

                                  0.0%               10.0%            20.0%            30.0%   40.0%   50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                       Total Dosage Units (2012)

                      SpecGx LLC                                                        34.6%

              Actavis Pharma, Inc.                                           26.1%

                      Indivior Inc.      1.1%

                Purdue Pharma LP          1.9%

               Par Pharmaceutical                                       22.9%

West-Ward Pharmaceuticals Corp.                 3.6%

       Mylan Pharmaceuticals, Inc.       0.6%

       Endo Pharmaceuticals, Inc.        0.7%

                       Sandoz Inc     0.0%

                  KVK-Tech, Inc.          1.4%

   Teva Pharmaceuticals USA, Inc.        0.8%

     Amneal Pharmaceuticals LLC              3.0%

          Rhodes Pharmaceuticals         1.0%

     Janssen Pharmaceuticals, Inc.     0.4%

                     Apotex Corp.     0.0%

                Ethex Corporation     0.0%

                      Hospira, Inc.   0.0%

Sun Pharmaceutical Industries, Inc.      0.9%

                             Other       0.8%

                                  0.0%                 10.0%   20.0%            30.0%       40.0%   50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                            Total MME (2013)

                      SpecGx LLC                                     18.2%

              Actavis Pharma, Inc.                               14.8%

                      Indivior Inc.                                  17.9%

                Purdue Pharma LP                       6.9%

               Par Pharmaceutical                  5.8%

West-Ward Pharmaceuticals Corp.                           9.6%

       Mylan Pharmaceuticals, Inc.            3.2%

       Endo Pharmaceuticals, Inc.         1.8%

                       Sandoz Inc     0.1%

                  KVK-Tech, Inc.              3.2%

   Teva Pharmaceuticals USA, Inc.      0.3%

     Amneal Pharmaceuticals LLC                 3.6%

          Rhodes Pharmaceuticals                3.6%

     Janssen Pharmaceuticals, Inc.       1.3%

                     Apotex Corp.          2.3%

                Ethex Corporation     0.0%

                      Hospira, Inc.      0.7%

Sun Pharmaceutical Industries, Inc.        2.1%

                             Other               4.8%

                                  0.0%                 10.0%         20.0%           30.0%   40.0%   50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                       Total Dosage Units (2013)

                      SpecGx LLC                                                             34.6%

              Actavis Pharma, Inc.                                           21.1%

                      Indivior Inc.       1.5%

                Purdue Pharma LP           2.2%

               Par Pharmaceutical                            13.3%

West-Ward Pharmaceuticals Corp.                   5.4%

       Mylan Pharmaceuticals, Inc.       0.7%

       Endo Pharmaceuticals, Inc.      0.5%

                       Sandoz Inc     0.0%

                  KVK-Tech, Inc.             3.1%

   Teva Pharmaceuticals USA, Inc.        1.1%

     Amneal Pharmaceuticals LLC                      7.9%

          Rhodes Pharmaceuticals           2.6%

     Janssen Pharmaceuticals, Inc.     0.5%

                     Apotex Corp.     0.1%

                Ethex Corporation     0.0%

                      Hospira, Inc.   0.0%

Sun Pharmaceutical Industries, Inc.        2.7%

                             Other         2.7%

                                  0.0%               10.0%           20.0%           30.0%       40.0%   50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                            Total MME (2014)

                      SpecGx LLC                                  13.3%

              Actavis Pharma, Inc.                             10.8%

                      Indivior Inc.                                        18.6%

                Purdue Pharma LP                   6.1%

               Par Pharmaceutical                       8.0%

West-Ward Pharmaceuticals Corp.                        7.8%

       Mylan Pharmaceuticals, Inc.          2.7%

       Endo Pharmaceuticals, Inc.        1.2%

                       Sandoz Inc     0.2%

                  KVK-Tech, Inc.                       7.3%

   Teva Pharmaceuticals USA, Inc.     0.2%

     Amneal Pharmaceuticals LLC                    5.9%

          Rhodes Pharmaceuticals                4.5%

     Janssen Pharmaceuticals, Inc.       1.1%

                     Apotex Corp.               4.1%

                Ethex Corporation     0.0%

                      Hospira, Inc.      0.6%

Sun Pharmaceutical Industries, Inc.      0.8%

                             Other                  6.7%

                                  0.0%                 10.0%              20.0%           30.0%   40.0%   50.0%   60.0%   70.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Butler County, OH
                                                       Total Dosage Units (2014)

                      SpecGx LLC                                             20.4%

              Actavis Pharma, Inc.                                   16.9%

                      Indivior Inc.       1.6%

                Purdue Pharma LP           2.1%

               Par Pharmaceutical                                                23.4%

West-Ward Pharmaceuticals Corp.               3.4%

       Mylan Pharmaceuticals, Inc.     0.5%

       Endo Pharmaceuticals, Inc.      0.4%

                       Sandoz Inc     0.0%

                  KVK-Tech, Inc.                     7.1%

   Teva Pharmaceuticals USA, Inc.        0.7%

     Amneal Pharmaceuticals LLC                              13.2%

          Rhodes Pharmaceuticals              3.4%

     Janssen Pharmaceuticals, Inc.     0.5%

                     Apotex Corp.     0.1%

                Ethex Corporation     0.0%

                      Hospira, Inc.   0.0%

Sun Pharmaceutical Industries, Inc.       1.5%

                             Other               4.8%

                                  0.0%               10.0%           20.0%               30.0%   40.0%   50.0%   60.0%   70.0%


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